August 16, 2021

                                                                             WRITER’S DIRECT DIAL 414.977.3891
                                                                                              Fkoch@cassiday.com



Via E-File Only
The Honorable William C. Griesbach
United States Courthouse Room 203
125 South Jefferson Street
Green Bay, WI 54301-4541

         Re:      Chelsea A. Harris v. Wellpath, Leeann Juntunen-Sullivan, and Diane Jensen
                  Court No.:    20cv00373
                  Our File No.: 046737/20908

Dear Judge Griesbach:

         Following the hearing on August 13, 2021, and receipt of your Order relative to Plaintiff’s Motion
for Leave to File an Amended Complaint, Counsel for the defendants seek clarification as to the extent of
the ruling. Specifically, in the hearing, the Court indicated that the Plaintiff was not seeking to add any
negligence claims as such claims would be barred by the statute of limitations. The only claims discussed
during the hearing were the individual § 1983 claims against Jessica Dennisen, RN, and Dr. Fatoki.

         It is our understanding that the Court did not grant the entirety of the Plaintiff’s motion, nor, by
extension, the entirety of the proposed amended complaint as was attached to Plaintiff’s motion. It is our
understanding that the proposed amended complaint contains additional negligence claims which should
deleted from the amended complaint to be filed. While the Court did indicate that the proposed amended
complaint be detached from the motion, it is the defendants’ understanding that the proposed complaint
exceeds the Court’s ruling. We have communicated with Mr. End, on behalf of Plaintiff, and confirmed
our difference of opinion relative to the court’s ruling and the form of the amended complaint.

        To resolve the difference in understanding, defense counsel requests a brief conference with the
Court to clarify.

Sincerely,

Cassiday Schade LLP


R. Fletcher Koch
cc:   Service List, via e-file

9934880 FKOCH;CWELSH
